bo

ed

Case 3:24-cv-00103-ART-CLB Document 44-2 Filed 03/28/25 Page1of8

EXHIBIT J

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

Drew J. Ribar,

Plaintiff.

Vv.

State of Nevada ex rel. Nevada Department of Corrections, Carson City, et al.,
Defendants.

Case No. 3:24-ev-00103-ART-CLB

EXHIBIT J — Citizen Complaint and Sheriff's Incident Report

(Bates Nos. EX025—-EX027)

Filed in Support of Amended Complaint and Summary Judgment Motion (Fed. R. Civ. P. 56)

Plaintiff Drew J. Ribar, pro se, submits Exhibit J, comprising Plaintiff's Citizen Complaint dated
September 8, 2022. and the Carson City Sheriffs Office Incident Report dated February 7, 2024,
obtained via discovery in Case No. 22 CR 01231 1C (dismissed). Filed manually per LR IC 2-2
with a Notice of Manual Filing, this exhibit stands alone as evidence of Plaintiff's pre-litigation
grievance and Defendants’ response. while cross-referencing Exhibits C, D, E, F, H, and I to

support Plaintiff's claims and Rule 56 motion.

Key Evidence and Legal Violations:

PLEADING TITLE - 1}

Wo

wo

Case 3:24-cv-00103-ART-CLB

Section Incident

CCSO deems Plaintiff's

complaint “unfounded”

Sheriff's

despite hotboxing claim
Report

(95°F, no ventilation),
(Bates

delayed response from
EX025—

9/8/2022 (filed) to
EX026)

10/23/2022 (centered) to

2/7/2024 (resolved).

Plaintiff alleges filming
Citizen

led to illegal arrest.
Complaint

followed by hotboxing,
(Bates

citing constitutional
EX027)

violations pre-litigation.

Document 44-2 Filed 03/28/25 Page 2of8

Legal Relevance

Eighth Amendment cruel and
unusual punishment (Aings/ey vy.
Hendrickson, 576 U.S. 389, 2015);
Fourteenth Amendment due
process (County of Sacramento y.
Lewis, 523 U.S. 833, 1998);
Monell liability (Monell v. Dep't
of Soc. Servs., 436 U.S. 658, 1978)
for deliberate indifference;
contradicts Exhibit D.

First Amendment retaliation
(Fordyce, Nieves), Fourth
Amendment malicious
prosecution (Thompson), Fifth
Amendment Miranda violation
(Miranda y. Arizona, 384 US.
436, 1966): Eighth Amendment
(Kingsley); Monell economic
retaliation (Umbehr, 518 U.S. 668,

1996).

Cross-Reference

Exhibit D, 0:20:56;
Exhibit F, EX001—
EX002; Exhibit E,

0:01:20

Exhibit C,
01:01:40.583 &
01:05:13.333;
Exhibit E, 0:01:04—
0:01:20; Exhibit I,

LEX019-EX021

PLEADING TITLE - 2

Case 3:24-cv-00103-ART-CLB Document 44-2 Filed 03/28/25 Page 3of8

| || Legal Claims Supported:

2

3 * First Amendment (42 U.S.C. § 1983): Retaliatory arrest and prosecution for lawful

4 recording (ordyce, Glik, Irizarry, Nieves, Umbehr). contradicted by Exhibits C and D.
5

e Fourth Amendment (42 U.S.C. § 1983): Malicious prosecution (Thompson,

6

, Devenpeck), supported by Exhibits I and F.

8 ¢ Fifth Amendment (42 U.S.C. § 1983): Late Miranda warning (Miranda), visible in

9 Exhibit D (0:20:56), ignored in CCSO's dismissal.

10 e Eighth Amendment (42 U.S.C. § 1983): Hotboxing in closed patrol car in 95°F heat
tl

(Kingsiley), disregarded by CCSO.

12

5 ¢ Fourteenth Amendment (42 U.S.C. § 1983): Due process violations (Mathews,

14 Parratt); economic harm to A&A Towing (Meyer, Lewis).

15 ¢ Municipal Liability (Monell): CCSO’s pattern of retaliation and dismissal without

I6 meaningful investigation, demonstrated by delayed inaction (9/8/2022—2/7/2024) and DA
17 oo,

ratification.

18

9 ¢ State Law Claims: False imprisonment (NRS 200.460); oppression under color of law
2 (NRS 197.200); intentional interference with prospective economic advantage (28 U.S.C.
21 § 1367).
22
23
24
35 Summary Judgment Purpose (Fed. R. Civ. P. 56):
26
4 Exhibit J’s hotboxing claim (EX027) and CCSO’s unfounded dismissal with delayed response
ag || UEX025-EX026) bolster the retaliation and due process narrative. Contradicted by Exhibit D,

PLEADING TITLE - 3

to

wo

Case 3:24-cv-00103-ART-CLB Document 44-2 Filed 03/28/25 Page 4of8

they highlight constitutional violations. Filed pre-litigation, this contemporaneous complaint
rebuts fabrication defenses and supports Plaintiff's consistency. Alongside Exhibits I’, H, and I,
these undisputed facts leave no genuine dispute of material fact, entitling Plaintiff to judgment

as a matter of law.

Qualified Immunity Defeat:

Defendants’ actions violate clearly established rights under Pearson v. Callahan, 555 U.S. 223

(2009):

¢ Violations: First Amendment retaliation (Fordyce, Glik, Irizarry, Nieves, Umbehr),
malicious prosecution (Thompson), due process (Mathews. Parratt), inhumane conditions
(Kingsley), late Miranda (Miranda).

* Clearly Established Law: Pre-2022 decisions.

¢ Standard: Actions show objective unreasonableness (Kingsley), not mere negligence

(Harlow). CCSO’s justification fails against So/dal, Mathews, and Kingsley standards.

Supporting Evidence:

Plaintiff recommends an affidavit confirming harm to A&A Towing, Inc.. reinforcing the

cconomic damages resulting from retaliatory arrest and prosecution.

PLEADING TITLE - 4

tw

Lo

Case 3:24-cv-00103-ART-CLB Document 44-2 Filed 03/28/25 Page5of8

Authentication:

Per Fed. R. Evid. 901, 1, Drew J. Ribar, declare under penalty of perjury that this Citizen
Complaint and Sheriff's Incident Report (Bates EX025-EX027) were obtained via discovery
in Case No, 22 CR 01231 1C and accurately reflect Plaintiff's complaint on September 8, 2022,

and CCSO’s response on February 7, 2024.

Dated: March 27, 2025

/s/ Drew J. Ribar

Drew J. Ribar

3480 Pershing Ln, Washoe Valley, NV 89704
Tel: (775) 223-7899

Email: Const2 Audit@gmail.com

PLEADING TITLE - 5

Case 3:24-cv-00103-ART-CLB Document 44-2 Filed 03/28/25 Page 6of8

Incident Report 2/7/2024

Carson City (NV) Sheriff's Office

Citizen Complaint

For: Deputy Bueno, Jasen (5443) Occurred: 8/30/2022
By: Sergeant Riggin, Darin (3495) Entered: 10/23/2022

Case Number:
22-5359

Address:

Category:
Complaint - Class I, II, or [TI

Incident Date:
08302022

Received Date/Time:
09082022

Reporting Party:
Citizen

RP/Complainant Name:
Drew Ribar

Subject Member(s) Name and I.D.:
3. Bueno 5443

Summary of Actions and Disposition:
Unfounded

Summary of Incident:
Arrastee complained ne was ‘hotboxed'

oO GuardianTracking Page: 1 of 2

ZXO0Z

“a

Case 3:24-cv-00103-ART-CLB Document 44-2 Filed 03/28/25 Page 7 of 8

Telephone Number:
(775)348-6565

On 8/30/2022 Deputy Bueno arrested a Drew Ribar reference case number 22-5359. On
8/31/2022, Ribar came to the front counter to make a complaint, and I spake with him. He
ultimately told me he wished to write his complaint at home and deliver it to me at a later
time.

On 16/04/2022 1 found a typed document with the apparent signature of Drew Ribar dated
9/08/2022 on my desk. I had not collected this from Ribar directly. The bulk of the single
page document was a list of first amendment and case law references. In the last paragraph,
Ribar complained that Deputy Bueno purposefully made the patrol car hot, while cooling
himself, causing Ribar to overheat. | watched Deputy Bueno's body camera and interior car
camera for this incident. There was no indication that Deputy Bueno did anything derogatory
toward Ribar. Deputy Buena did not engage in what appeared to be argumentative, ‘gotcha’
type discussions with Ribar, but he instead maintained calmness and professionalism
throughout their interaction, Deputy Bueno transported Ribar to the jail using a direct and
reasonable route, and he subsequently booked Ribar without issue. I saw and heard nothing
to substantiate Ribar's claim against Deputy Bueno.

¢ 2p Guardiantracking Page: 2 of 2

EX AL

Case 3:24-cv-00103-ART-CLB Document 44-2 Filed 03/28/25 Page 8of8

September 8, 2022

Criminal Complaint: Conspiracy to deprive/oppress Constitutional Rights under color of law 18 USC 241
& 242 NRS 197.200, Iegally detained and blocked in by NVDOC employee, trespassed, arrested and
tortured far recording law enforcement NRS 4848.653, NRS 289.220, NRS 171.1233, NRS 207.200, NRS
200.460, NRS 200.471, 1" Amendment, 4" Amendment, 5" Amendment, 8" Amendment, 14”
Amendment, Fordyce V Seattle 9" Circuit, irizarry V Yehia (most recent) 10" Circuit, many more cases
that confirm our Rights under the Constitution

August 30, 2022

went to Northern Nevada Correctional Center located at 1721 £ Snyder and began recording outside
the facility on the public road in front of the sign to the facility. | got back in my truck to drive dawn to
the public parking lot when a white van crossed over the double white line trying to run me off the road
at 2:34 into the video. NRS 484B,653,

See this video
https://www.youtube.com/watch?v=4WokGhARpQYEt= 1825

2:59 identifies Lt. Ryer #10300 NRS 289.220

3:05 told to go off property to record NRS 172.1233

3:13 “{ need you to film off the property” NRS 171.1233

3:29 “| am a sworn peace officer for the State of Nevada” NRS 289.220
14:25 Sgt Smith #38085 informed of my Right to record in public.
15:31 “We have called the Sheriff Dept’, NRS 171.1233

15:38 “Can not have you watking around here filming for safety reasons". NRS 171.1233

20:19 “this is a public road”
20:39 Sgt. Smith steps aside and allows me to continue walking along the “public road”.

29:28 Unidentified black male in grey shirt and dark grey slacks “you are in an unauthorized position”.
He REFUSED to identify himself.

29:57 Deputy iHegal arrest, locks me in the back of his patrol car, closes all of the windows, air vents in
prisoner cage are closed, closed plastic window blocking air from front of vehicle while outside
temperature is 95f degrees causing my body to overheat and sweat from the time | was legally
arrested, driving ta the Carson City Jail the deputy appeared to be cooling himself with a device that
blew cool air on him under his duty vest. NRS 200.460, NRS 200.471, 1° Amendment, 4" Amendment,
8™ Amendment, 14° Amendment

Victim Drew Ribar

eo ™ ° .
Loy of bre GP & W022

Y- f

7

EXOZ7

